

ORDER

PER CURIAM:
AND NOW, this 23rd day of April, 1999, there having been filed with this Court by Roy D. Shirk his verified Statement of Resignation dated March 22, 1999, stating that he desires to resign from the Bar of the Commonwealth of Pennsylvania in accordance with the provisions of Rule 215, Pa.R.D.E., it is
ORDERED that the resignation of Roy D. Shirk be and it is hereby accepted and he is DISBARRED ON CONSENT from the Bar of the Commonwealth of Pennsylvania; and it is further ORDERED that he shall comply with the provisions of Rule 217, Pa.R.D.E. Respondent shall pay costs, *473if any, to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
